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13   UNITED STATES OF AMERICA,                      )   CASE NO. CR 19-00054-003 RS
                                                    )
14           Plaintiff,                             )   UNITED STATES’ SENTENCING
                                                    )   MEMORANDUM
15      v.                                          )
                                                    )
16   MANUEL ISLAS,                                  )
                                                    )   Date: October 21, 2021
17           Defendant.                             )   Time: 11:00 a.m.
                                                    )   Hon. Richard Seeborg
18                                                  )

19
20 I.        INTRODUCTION
21           From February to November 2018, Manuel Islas was involved in a conspiracy with Emanuel
22 Rivera and others to distribute methamphetamine and cocaine. His role was to deliver the drugs to

23 Rivera’s customers at Rivera’s direction, in exchange for payment. In his plea agreement, Islas admits

24 and accepts responsibility for delivering a kilogram of methamphetamine to an undercover law

25 enforcement officer in February 2018, and for delivering a kilogram of cocaine to Ernesto Salak, one of

26 Rivera’s customers, in November, 2018. In addition to this charged and admitted conduct, Probation’s

27 Presentence Investigation Report details the defendant’s own admissions that he delivered drugs on

28 various other occasions in December 2018 and January 2019 for payment.

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 1          Islas pled guilty to three counts of the Indictment, including Count Two that carries a 120-month

 2 mandatory minimum sentence. Because Islas is safety-valve eligible and truthfully debriefed with the

 3 government, he is not subject to that mandatory minimum. The parties and Probation are in agreement

 4 that the Total Offense Level is 27, Criminal History Category is I, yielding an advisory Guidelines range

 5 of 70-87 months’ imprisonment. Probation recommends a variance to 24 months imprisonment, and the

 6 defendant requests 12 months and one day of imprisonment. The government respectfully submits this

 7 sentencing memorandum discussing the 3553(a) factors and leaves the final determination of an

 8 appropriate sentence with the Court.

 9 II.      DISCUSSION

10          The Court must impose a sentence sufficient, but not greater than necessary, to reflect the

11 seriousness of the offense, deter others from committing similar crimes, protect the public from the

12 defendant, and rehabilitate the defendant. 18 U.S.C. § 3553(a)(2); United States v. Carty, 520 F.3d 984,

13 991 (9th Cir. 2008). The statute sets forth several factors that the Court must consider in determining a

14 just sentence: (1) the nature and circumstances of the offense and the defendant’s history and

15 characteristics; (2) the purposes of sentencing; (3) the kinds of sentences available; (4) the Guidelines

16 range for sentences; (5) any pertinent policy statements; (6) the need to avoid unwarranted sentencing

17 disparities and the need to provide restitution to any victims of the offense. 18 U.S.C. § 3553(a); Carty,

18 520 F.3d at 991. A sentence should reflect the seriousness of the offense, promote respect for the law,

19 provide just punishment to the offender, deter the defendant and others from committing similar crimes
20 in the future and protect the community from future crimes of the defendant. 18 U.S.C. § 3553(a)(2).

21 The Guidelines should be the starting point and the initial benchmark. Gall v. United States, 552 U.S.

22 38, 49 (2007). Though the guidelines are not binding, they “reflect a rough approximation of sentences

23 that might achieve section 3553(a)’s objectives.” Rita v. United States, 551 U.S. 338, 350 (2007).

24          By his own admissions, Manuel Islas was involved in a sizable drug conspiracy for

25 approximately one year – although it does appear that his role was limited to transporting drugs for

26 Emanuel Rivera at Rivera’s direction. Islas delivered high-quality methamphetamine that is highly

27 addictive and destructive. “The consequences of methamphetamine abuse are terrible for the individual

28 – psychologically, medically, and socially.” Nat’l Inst. on Drug Abuse, “Methamphetamine Abuse and

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 1 Addiction,” Nat’l Inst. of Heath Pub. 13-4210 (rev. Sept. 2013) at 1. 1 Methamphetamine can cause

 2 memory loss, aggression, psychotic behavior, cardiovascular damage, malnutrition and severe dental

 3 problems from the dry mouth and bruxism that commonly accompany its use. Id. “Beyond its

 4 devastating effects on individual health, methamphetamine abuse threatens whole communities, causing

 5 new waves of crime, unemployment, child neglect or abuse and other social ills.” Id. Though meth use

 6 is on the decline nationally, it remains a significant problem in Northern California.

 7          The Court must consider the purposes of sentencing here – including both punishment and

 8 deterrence. The defendant’s conduct compromised the health and safety of the community, and

 9 presented a danger that must be prevented. On the other hand, the defendant’s did not have full

10 visibility into this conspiracy and would deliver drugs for approximately $200 fees. In addition, Islas

11 quickly accepted responsibility for his criminal conduct in an interview with law enforcement officers

12 immediately after his arrest. He swiftly safety valve proffered with the government where he fully

13 admitted to his criminal conduct, including conduct beyond that which the government was able to

14 charge in the Indictment. In considering the purposes at sentencing, the defendant’s quick and fulsome

15 admission of his criminal behavior opened the door to his rehabilitation, and affects what sentence is

16 necessary in terms of deterring future criminal conduct by this defendant.

17 III.     CONCLUSION

18          The government asks to Court to impose a sentence it deems sufficient, and not greater than

19 necessary, to achieve the goals of 18 U.S.C. § 3553(a), and recommends the Court also impose three
20 years of supervised release, no fine, and a $300 special assessment.

21 DATED: October 14, 2020                                        Respectfully submitted,

22                                                                DAVID L. ANDERSON
                                                                  United States Attorney
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24
                                                                                 /s/
25                                                                SHAILIKA S. KOTIYA
                                                                  Assistant United States Attorney
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             This report is available at https://www.drugabuse.gov/publications/research-
     reports/methamphetamine/letter-director, and the tabs associated with it (last visited Dec. 11, 2018).
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